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HADDAD, Kim – Declaration

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      Exhibit A    Excerpts of Robert Candy’s June 24, 2021 deposition transcript taken
                   pursuant to Fed. R. Civ. P. 30(b)(6)

      Exhibit B    Excerpted exhibits from the June 24, 2021 deposition of Robert Candy
                   taken pursuant to Fed. R. Civ. P. 30(b)(6)

      Exhibit C    Excerpts of Robert Candy’s August 11, 2021 deposition transcript taken
                   pursuant to Fed. R. Civ. P. 30(b)(6)

      Exhibit D    Excerpted exhibits from the August 11, 2021 deposition of Robert Candy
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      Exhibit E    Excerpts of Keith Gold’s July 15, 2021 deposition transcript

      Exhibit F    Excerpted exhibits from the July 15, 2021 deposition of Keith Gold

      Exhibit G    Excerpts of Keith Gold’s July 22, 2021 deposition transcript

      Exhibit H    Excerpted exhibits from the July 22, 2021 deposition of Keith Gold

      Exhibit I    Excerpts of Gale Duncan’s June 30, 2021 deposition transcript

      Exhibit J    Excerpted exhibits from the June 30, 2021 deposition of Gale Duncan

      Exhibit K    Tri-State Zoological Park of Western Maryland, Inc.’s (“Tri-State”) United
                   States Department of Agriculture (USDA) inspection reports detailing Tri-
                   State’s citations from 2005 to 2021.

      Exhibit L    Results from an October 2017 USDA inspection of Defendants’ facility



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       Exhibit M     Defendants’ Supplemental Answers to Plaintiff PETA’s First Set of
                     Interrogatories

       Exhibit N     Excerpts of Rella Moon’s August 10, 2021 deposition transcript

       Exhibit O     Excerpts of Robert Candy’s March 16, 2018 deposition transcript from the
                     matter of People for Ethical Treatment of Animals, Inc. v. Tri-State
                     Zoological Park of W. Maryland, Inc., 424 F. Supp. 3d 404 (D. Md. 2019)

       Exhibit P     Excerpts of Defendants’ June 1, 2021 production of documents

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       Exhibit A     PETA’s motto and mission statement

       Exhibit B     PETA’s 2020 Annual Review

       Exhibit C     Tri-State Zoological Park of Western Maryland’s (“Tri-State’s”) Facebook
                     post

       Exhibit D     Tri-State’s Facebook page

       Exhibit E     Reviews and comments posted by members of the public about Tri-State

       Exhibit F     Complaints PETA submitted about Tri-State to government agencies and
                     related correspondence

       Exhibit G     PETA’s press releases about Tri-State

       Exhibit H     Information PETA shared about Tri-State with the public through its
                     website, social media accounts, and via email and text alerts

       Exhibit I     PETA’ Blog posts about Tri- State

       Exhibit J     Public complaints that PETA received about Tri-State

       Exhibit K     Screenshots from Tri-State’s social media accounts and website, as well as
                     third party social media posts regarding the conditions at Tri-State

       Exhibit L     Public records requests related to Tri-State that were submitted by PETA

PRATTE, Jason – Declaration

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